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                    United States Court of Appeals
                                 FIFTH CIRCUIT
                              OFFICE OF THE CLERK
LYLE W. CAYCE                                                    TEL. 504-310-7700
CLERK                                                         600 S. MAESTRI PLACE,
                                                                      Suite 115
                                                             NEW ORLEANS, LA 70130

                             August 16, 2023
MEMORANDUM TO COUNSEL OR PARTIES LISTED BELOW
Regarding:      Fifth Circuit Statement on Petitions for Rehearing
                or Rehearing En Banc
        No. 23-10362      Alliance Hippocratic Medicine v. FDA
                             USDC No. 2:22-CV-223

Enclosed is a copy of the court’s decision. The court has entered
judgment under Fed. R. App. P. 36. (However, the opinion may yet
contain typographical or printing errors which are subject to
correction.)
Fed. R. App. P. 39 through 41, and 5th Cir. R. 35, 39, and 41 govern
costs, rehearings, and mandates. 5th Cir. R. 35 and 40 require
you to attach to your petition for panel rehearing or rehearing en
banc an unmarked copy of the court’s opinion or order.      Please
read carefully the Internal Operating Procedures (IOP’s) following
Fed. R. App. P. 40 and 5th Cir. R. 35 for a discussion of when a
rehearing may be appropriate, the legal standards applied and
sanctions which may be imposed if you make a nonmeritorious
petition for rehearing en banc.
Direct Criminal Appeals. 5th Cir. R. 41 provides that a motion for
a stay of mandate under Fed. R. App. P. 41 will not be granted simply
upon request. The petition must set forth good cause for a stay
or clearly demonstrate that a substantial question will be
presented to the Supreme Court. Otherwise, this court may deny
the motion and issue the mandate immediately.
Pro Se Cases.   If you were unsuccessful in the district court
and/or on appeal, and are considering filing a petition for
certiorari in the United States Supreme Court, you do not need to
file a motion for stay of mandate under Fed. R. App. P. 41. The
issuance of the mandate does not affect the time, or your right,
to file with the Supreme Court.
Court Appointed Counsel. Court appointed counsel is responsible
for filing petition(s) for rehearing(s) (panel and/or en banc) and
writ(s) of certiorari to the U.S. Supreme Court, unless relieved
of your obligation by court order. If it is your intention to
file a motion to withdraw as counsel, you should notify your client
promptly, and advise them of the time limits for filing for
rehearing and certiorari.     Additionally, you MUST confirm that
this information was given to your client, within the body of your
motion to withdraw as counsel.
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The judgment entered provides that each party to bear own costs on
appeal. A bill of cost form is available on the court’s website
www.ca5.uscourts.gov.


                                Sincerely,
                                LYLE W. CAYCE, Clerk

                                By: _______________________
                                Christina C. Rachal, Deputy Clerk
Enclosure(s)
Mr. Steven H. Aden
Ms. Jessica Ring Amunson
Mr. Adam B. Aukland-Peck
Ms. Charlotte Baigent
Mr. Erik Baptist
Ms. Cynthia Barmore
Mr. Cody S. Barnett
Ms. Amanda Beane
Mr. Boris Bershteyn
Ms. Julie Marie Blake
Mr. Matthew Scott Bowman
Ms. Beth S. Brinkmann
Mr. John J. Bursch
Ms. Elizabeth A. Charles
Mr. Anthony Scott Chinn
Mr. Ben E. Clayton
Mr. Joshua Paul Clayton
Mr. Richard Dearing
Mr. Joshua M. Divine
Ms. Margaret Dotzel
Ms. Jessica Lynn Ellsworth
Mr. John Patrick Elwood
Mr. Charles William Fillmore
Mr. Roger K. Gannam
Ms. Emily Gerry
Mr. Marlan Golden
Ms. Elissa Graves
Ms. Stephanie L. Gutwein
Ms. Heather Gebelin Hacker
Ms. Denise Harle
Ms. Sarah Elaine Harrington
Ms. Erin Morrow Hawley
Mr. David Ray Hogue
Ms. Alyssa Howard
Mrs. Jayme Alyse Jonat
Mr. Robert J. Katerberg
Mr. Philip Katz
Mr. Thomas S. Leatherbury
Mr. Peter Dominick Lepiscopo
Mr. Robert Allen Long Jr.
Ms. Janice Mac Avoy
Mr. Justin Lee Matheny
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Ms. Megan McGuiggan
Ms. Lynn Whipkey Mehler
Mr. Paul Alessio Mezzina
Mr. Christopher Morten
Ms. Ester Murdukhayeva
Ms. Rachel Neil
Mr. Warren Norred
Mr. Allan Edward Parker Jr.
Mr. Hugh Carleton Phillips
Ms. Rona Proper
Mr. Michael S. Raab
Mr. Joshua Rosenthal
Mr. Nicolas Sansone
Mr. Dean John Sauer
Mr. Gene C. Schaerr
Ms. Eva Marie Schifini
Mr. Andrew Layton Schlafly
Mr. William B. Schultz
Mr. Daniel Schwei
Ms. Delia Scoville
Mr. Jordan Dentler Segall
Ms. Shannon Rose Selden
Mr. Michael Francis Smith
Mr. Samuel Spital
Mrs. Cristina Martinez Squiers
Ms. Danielle Desaulniers Stempel
Ms. Catherine Emily Stetson
Mr. Christian D. Stewart
Ms. Simona Strauss
Ms. Eva Temkin
Mr. John F. Walsh III
Mr. John Marc Wheat
Mr. Edward Lawrence White
Ms. Grace Zhou
Ms. Allison M. Zieve
